             Case 2:08-cr-00103-LKK Document 162 Filed 04/24/09 Page 1 of 2


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 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        Case No. 08-103 LKK
                                   )
12             Plaintiff,          )        ORDER RE:
                                   )        GOVERNMENT’S MOTION TO DISMISS
13        v.                       )
                                   )
14   JOHN PHILLIP PRUITT and       )
     DARRYL ANTHONY BERG,          )
15                                 )
               Defendant.          )
16   ______________________________)
17
18          Pursuant to Rule 48(a) of the Federal Rules of Criminal
19   Procedure, the United States, by and through its undersigned
20   attorneys, moves the Court for an order dismissing the charges
21   against John Phillip Pruitt and Darryl Anthony Berg, as listed in
22   the indictment and superseding indictment in Case Number S-08-103
23   LKK.
24          The government bases this motion on evidence and information
25   obtained post-indictment.       Despite other problems in the case, until
26   recently, the government believed it could present sufficient
27   evidence to meet its burden at trial.         However, the defense recently
28   presented the government with alibi evidence.           Based on the results


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           Case 2:08-cr-00103-LKK Document 162 Filed 04/24/09 Page 2 of 2


 1   of its preliminary investigation, the government believes it will
 2   not be able to disprove the alibi defense beyond a reasonable doubt
 3   and prevail at trial.
 4        The government therefore asks the Court to dismiss the charges
 5   against defendants Pruitt and Berg.
 6
 7   DATE: April 24, 2009                      LAWREENCE G. BROWN
                                               Acting United States Attorney
 8
 9                                       By /s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
10                                          Assistant U.S. Attorney
11                                       By /s/ Todd D. Leras
                                            TODD D. LERAS
12                                          Assistant U.S. Attorney
13
14                                    O R D E R
15   Based on the government’s motion, it is hereby ordered that the
16   charges in the indictment and superseding indictment against
17   defendants John Phillip Pruitt and Darryl Anthony Berg in case
18   number 08-103 LKK are dismissed with prejudice.
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     DATED: April 24, 2009
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